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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -- GENERAL

Case No.     CV 20-7932-MWF(PLAx)                                       Dated: October 29, 2021

Title:       Ryan Vintch -v- County of Los Angeles

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                    None Present
             Courtroom Deputy                                Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                   None Present

PROCEEDINGS (IN CHAMBERS) COURT ORDER

       In light of the Notice of Settlement [45] filed October 27, 2021, the Court sets a
hearing on Order To Show Cause Re Dismissal for January 31, 2022 at 11:30 a.m. If a
stipulated dismissal is filed prior to this date, the matter will be taken off calendar and no
appearance is needed. All other hearings and deadlines are hereby vacated.

         IT IS SO ORDERED.




MINUTES FORM 90                                                   Initials of Deputy Clerk       rs
CIVIL ‐ GEN
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